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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                4:08CR3031
                                     )
           v.                        )
                                     )
AMY L. MCNALLY,                      )                   ORDER
                                     )
                  Defendants.        )
                                     )


     IT IS ORDERED:

     Defendant’s Motion for Permission to Restrict, filing 37, is
granted and the clerk is directed to file document number 35 as a
restricted access document. The clerk shall also restrict
stricken document number 34.

     DATED this 27th day of June, 2008.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
